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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 _____________________________________
 In re:                                )            CHAPTER 11
                                       )
 CALPINE CORPORATION, et al,           )            Case No. 05-60200 (BRL)
                                       )            Jointly Administered
                                       )
                         Debtor.       )
                                       )


                           STATEMENT OF ISSUES ON APPEAL


        Pursuant to Federal Rule of Bankruptcy Procedure 8006, Robert Membreno, as Trustee for

 SAI Trust, (“Appellant”), by and through his counsel Nicoletti Hornig & Sweeney, hereby submits

 the following statement of issues to be presented on appeal from (i) the Bankruptcy Court’s

 Memorandum Decision [Docket No.: 7975] and subsequent Order granting the Claims Objection

 (the “Claims Objection Order) [Docket No.: 7981] entered in this case on September 30, 2008 and

 disallowing and expunging under §502 of the Bankruptcy Code, SAI’s Proofs of Claim Nos. 6309,

 6314, 6315, 6316, 6327 and 6328 and (ii) any and all earlier adverse orders and rulings.
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       1.      Whether the Bankruptcy Court erred in ordering that Claim Numbers 6309, 6315,
               6316, 6327 and 6328 are disallowed and expunged in their entirety.

       2.      Whether the Bankruptcy Court erred in denying SAI Trust’s Motion for Summary
               Judgment

       3.      Whether the Bankruptcy Court erred in granting Debtors’ Motion for Summary
               Adjudication and granting the Claims Objection

       4.      Whether the Bankruptcy Court erred in determining that the unexplained and
               unsubstantiated expenses which unilaterally were inserted by Debtors in the monthly
               NPI statements beginning in April 2001 are properly included in the calculation of
               NPI

       5.      Whether the Bankruptcy Court erred in failing to apply standard rules of contract
               interpretation and determining that the term “Project direct operating expenses” is
               broad enough to encompass expenses from 18 other plants which are not the subject
               of the Agreement for Purchase entered into between SAI and Debtors.

       6.      Whether the Bankruptcy Court erred in determining that were Debtors to continue
               to make NPI payments to SAI Trust in accordance with the Agreement of Purchase
               it would result in a windfall to SAI Trust.

       7.      Whether the Bankruptcy Court erred in overlooking a December 1989 letter
               agreement authored by Debtors which set forth the precise line item expenses that
               were to be charged in calculating monthly NPI.

       8.      Whether the Bankruptcy Court erred in overlooking an eleven year course of dealing
               which established the manner in which NPI would be calculated.

       9.      Whether the Bankruptcy Court erred in finding that a dispute arose in 1994.

       10.     Whether the Bankruptcy Court erred in determining that SAI Trust’s collateral
               estoppel argument is without merit.

       11.     Whether the Bankruptcy Court erred in determining that res judicata argument is
               without merit.

       12.     Whether the Bankruptcy Court erred in determining that despite a clear breach of the
               contract, SAI Trust is nevertheless unable to prove any damages proximately caused
               from Calpine’s failure to provide certified NPI statements.

       13.     Whether the Bankruptcy Court erred in overlooking the fact that Debtors use
               budgeted as opposed to actual expenses in calculating NPI.


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       14.     Whether the Bankruptcy Court erred in finding that Debtors have provided adequate
               underlying information to confirm Debtors’ calculation of NPI.

       15.     Whether the Bankruptcy Court erred in denying at oral argument SAI Trust’s post-
               petition damages resulting from the continuous breach of contract by Debtors.

       16.     Whether the Bankruptcy Court erred in denying at oral argument SAI Trust’s petition
               for attorneys’ fees as permitted under the Agreement for Purchase.


 Dated: New York, New York
        October 23, 2008

                                       Yours, etc.,

                                       NICOLETTI HORNIG & SWEENEY
                                       Attorneys for
                                       Robert Membeno, Trustee for SAI Trust


                                 By:          /s/ Lawrence C. Glynn
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